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                     United States Court of Appeals
                                  FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________
No. 20-1059                                                       September Term, 2020
                                                                           FERC-163FERC61236
                                                                           FERC-169FERC61239
                                                                           FERC-171FERC61034
                                                                           FERC-171FERC61035
                                                             Filed On: October 14, 2020
New Jersey Division of Rate Counsel, et al.,

                  Petitioners

         v.

Federal Energy Regulatory Commission,

                  Respondent

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PJM Industrial Customer Coalition, et al.,
                  Intervenors
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Consolidated with 20-1095, 20-1118, 20-1120,
20-1125, 20-1131, 20-1139, 20-1154, 20-1155,
20-1191, 20-1194, 20-1200, 20-1203, 20-1204,
20-1205, 20-1209, 20-1210, 20-1305, 20-1310,
20-1316


         BEFORE:           Henderson, Rogers, and Walker, Circuit Judges

                                              ORDER

       Upon consideration of the motions to dismiss, the oppositions thereto, and the reply;
the motions to govern further proceedings; and the June 16, 2020 order to show cause why
certain petitions for review should not be transferred to the U.S. Court of Appeals for the
Seventh Circuit and the responses thereto, it is

         ORDERED that the order to show cause be discharged. It is

       FURTHER ORDERED, on the court’s own motion, that these consolidated petitions,
including the motions to dismiss, be transferred to the U.S. Court of Appeals for the
USCA Case #20-1059         Document #1866300               Filed: 10/14/2020      Page 2 of 2



                United States Court of Appeals
                            FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 20-1059                                                 September Term, 2020

Seventh Circuit. See 28 U.S.C. § 2112(a)(5); Remington Lodging & Hosp., LLC v. NLRB,
747 F.3d 903, 904 (D.C. Cir. 2014). The Clerk is directed to send a copy of this order and
this court’s original files to the U.S. Court of Appeals for the Seventh Circuit.


                                       Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Manuel J. Castro
                                                          Deputy Clerk




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